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                                           Appendix A

         Flores argues that “the criminalization of illegal entry in 1929 reveals a disturbing truth:
that racism and eugenics were not only a ‘motivating factor’ in the legislature’s passage of this
law[] . . . [t]hey were the primary factor.” Def. Mot. 8 (emphasis added). Flores’s recitation of the
legislative history is marred by numerous inaccuracies and consists of a hodgepodge presentation
of evidence aimed at giving the impression that the 1929 unlawful reentry statute was the product
of impermissible racial animus. Below, the government addresses point-by-point Flores’s evidence
and explains why it falls well short of the mark.

   •   Point: “Prominent restrictionists ‘spoke increasingly of ‘racial indigestion,’ and the
       ‘contamination’ of Anglo-American society.” Def. Mot. 8.
           o Counterpoint: The study cited for the first point does not cite a source or identify
                which restrictionists spoke increasingly of “racial indigestion,” or if these
                restrictionists were even legislators. The study also does not characterize these
                restrictionists as “prominent.” The quote referencing the “contamination of Anglo-
                American society” is drawn from a discussion of discrimination in the early 1900s
                against Italians, Poles, and Slovaks. The study then goes on to discuss the National
                Origins Act of 1924, an act that introduced nationality-based quota systems
                (inapplicable to south and central America) and reaffirmed the exclusion of Asians
                from the U.S.
   •   Point: “The decade also brought a flood of immigration legislation fueled by fears of ‘non-
       white’ immigration. At the start of the decade, Congress passed the first numerical
       restriction on immigration in the United States.” Def. Mot. 8–9 (citing Emergency
       Immigration Act of 1921, Pub. L. 67-5, 42 Stat. 5 (1921)).
           o Counterpoint: The study cited to support the first proposition deals entirely with
                the Act of 1924 and its impact on Jews, Italians, and other European immigrants.
                The study does not address the unlawful reentry statute or immigration from south
                or central America. As to the first numerical restrictions on immigration, the
                Emergency Immigration Act of 1921 did not apply to south and central America.
   •   Point: “During the remainder of the decade, legislators aimed for ‘America [to] cease to
       be the melting pot.” Def. Mot. 9 (emphasis added).
           o Counterpoint: The study cited for this proposition quotes one Senator and says
                nothing about other “legislators” or what they “aimed for” “during the remainder
                of the decade[.]” The cited quotation also references the Act of 1924. The very next
                line goes on to say that “for the next forty years a small number of lawmakers,
                activists, and presidents worked relentlessly to abolish the 1924 law and its quotas.”
   •   Point: “Relying heavily on these [Dr. Laughlin’s eugenics] theories, Congress would
       anchor its immigration legislation in eugenics and racial inferiority for the remainder of the
       decade.” Def. Mot. 10.
           o Counterpoint: The study cited does not support the above proposition. The study
                never references eugenics or Dr. Laughlin. The cited pages do not say anything
                about Congress relying heavily on eugenics to “anchor” its immigration legislation.
   •   Point: “The quotas created by the National Origins Act were skewed to keep the nation’s
       ‘racial strains’ predominantly Anglo-Saxon. The law on its face did not count ‘nonwhite
       people residing in the United States’ toward the quotas it established. Indeed, its newly-

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       created ‘Quota Board’ interpreted this provision to exclude all Black people; all East and
       South Asians (including those who had American citizenship by birth); and all citizens in
       Hawai‘i, Puerto Rico, and Alaska.” Def. Mot. 11.
            o Counterpoint: The 1924 Act also established quotas on European immigration.
    • Point: “So, despite passing the most sweeping immigration law in years, legislators were
       not happy. Representative Madden grumbled that the bill ‘leaves open the doors for
       perhaps the worst element that comes into the United States—the Mexican peon.’
       Representative Patrick O’Sullivan criticized the restrictions on Italian immigrants, stating
       that ‘the average Italian is as much superior to the average Mexican as a full-blooded
       Airedale is to a mongrel.’” Def. Mot. 12–13 (internal citations omitted).
            o Counterpoint: Representative Martin Madden died in April 1928. Representative
                Patrick O’Sullivan was a member of the 69th Congress (March 4, 1923–March 3,
                1925). Neither was in Congress in March 1929, when the unlawful reentry statute
                became law, or even in December 1928, when the unlawful reentry bill was
                introduced to the Senate.
    • Point: “Secretary Davis was nevertheless torn between his belief in eugenics and his
       responsibility to maintain a large labor supply for the railroad and agriculture industries.
       So together with devout racist (and suspected Ku Klux Klan member) Senator Coleman
       Blease, Davis developed a compromise—Congress would criminalize border crossing after
       the fact, rather than prevent it in the first place. That way, they reasoned, authorities could
       expel Mexicans through a criminal prosecution after the growing season was over, thereby
       avoiding resistance from businesses that depended on Mexican labor.” Def. Mot. 13.
            o Counterpoint: The authority cited for the final proposition is a Propublica article
                which itself cites no legislative material. The article cites City of Inmates:
                Conquest, Rebellion, and the Rise of Human Caging in Los Angeles, 1771-1965
                (UNC Press, 2017). The discussion in City of Inmates relevant to this point can be
                found on pp. 137-38 and cites no relevant authority to support its theory.
    • Point: “Representative John C. Box from Texas had long characterized the goal of
       immigration law as “the protection of American racial stock from further degradation or
       change through mongrelization.” In one speech at an immigration conference, Rep. Box
       had explained that:
           [t]he Mexican peon is a mixture of Mediterranean-blooded Spanish peasant
           with low-grade Indians who did not fight to extinction but submitted and
           multiplied as serfs. Into that was fused much negro slave blood . . . . The
           prevention of such mongrelization and the degradation it causes is one of the
           purposes of our [immigration] laws.
Box believed this importation was “raising a serious race question” because Mexicans were
“essentially different from us in character, in social position.” Def. Mot. 13–14 (citations omitted).
            o Counterpoint: Box’s remarks were made in reference to the quota provisions of
                the 1924 Act or the possible expansion of these quotas to apply to Mexico. He did
                not make these remarks in reference to the 1929 unlawful reentry law.
    • Point: “Within two years of the 1924 Act, Chairman Johnson turned to legislation that
       would exclude the ‘Mexican race,’ explaining that while the argument for immigration
       restriction had previously been economic, now ‘the fundamental reason for it is
       biological.’” Def. Mot. 14–15.


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          o Counterpoint: The page cited in support of this proposition does not include the
             phrase “Mexican race.” The book only includes the following quote: “the
             fundamental reason for it is biological.” Furthermore, the book sources the quote
             to 1923, not “[w]ithin two years of the 1924 Act.”
 •   Point: “In February 1928, for instance, Representative Robert A. Green of Florida
     delivered a speech (read into the congressional record by Representative Lankford) that
     advocated for Western Hemisphere quotas. He asserted that countries south of the U.S. are
     ‘composed of mixture blood of White, Indian, and negro.’ Immigration from these
     countries, he believed, created a ‘very great penalty upon the society which assimilates,’
     and put it at a disadvantage to countries that have ‘kept their blood white and purely
     Caucasian.’” Def. Mot. 15 (citations omitted).
          o Counterpoint: Representative Green’s speech concerned quotas, not the 1929
             unlawful reentry law.
 •   Point: “Chairman Johnson had convened hearings on new immigration legislation. At the
     first hearing, in January 1926, Chairman Johnson admitted into the record a letter from a
     constituent in El Paso who urged the legislators to keep out ‘the scoff and scum, the
     mongrel, the bootlegger element, from Mexico.’ In response to this letter, Commissioner
     General of Immigration Harry Hull stated, ‘I think he is right.’ Rep. Box added, ‘I have
     some letters, Mr. Chairman, just like that.’” Def. Mot. 15 (citations omitted).
          o Counterpoint: These hearings concerned a pending deportation bill addressing
             various grounds for deportation, not the criminalization of unlawful reentry. The
             1926 hearing obviously could not have dealt with the unlawful reentry provision,
             which was only introduced in 1928.
 •   Point: “In April 1926, the same House committee held a hearing entitled, ‘The Eugenical
     Aspects of Deportation,’ where the principal witness was the well-known eugenicist Dr.
     Laughlin. Early in the hearing, Chairman Johnson praised Dr. Laughlin’s prior reports to
     Congress on race crossing, mate selection, and fecundity, describing one as a ‘priceless’
     resource that would ‘bear intimately upon on immigration policy.’ (emphasis added). Dr.
     Laughlin testified about his latest eugenics report, the goal of which was to ‘protect
     American blood from alien contamination.’ When Dr. Laughlin encouraged the committee
     to conduct future research on the effect of ‘race crossing within the United States,’
     Chairman Johnson replied that such a study would ‘be of great use to the committee in its
     deliberations.’” Def. Mot. 15–16 (citations omitted).
          o Counterpoint: These hearings related to deportation, not the unlawful reentry
             statute. Again, the unlawful reentry law was introduced to the Senate in December
             1928.
 •   Point: “Though Chairman Johnson’s initial legislation failed, the compromise with the
     agricultural industry brokered by Secretary Davis and Senator Blease soon made a
     breakthrough. On January 18, 1929, Senator Blease, on behalf of the Senate Committee on
     Immigration, submitted a report to the full Senate recommending passage of a law that
     would penalize ‘aliens who have been expelled from the United States and who reenter the
     country unlawfully.’” Exhibit G (Report No. 1456). Def. Mot. 17–18.
          o Counterpoint: Flores provides no support for the alleged correlation between the
             failure of Johnson’s undescribed legislation and the introduction of the unlawful
             reentry provision. Moreover, Senator Blease introduced the unlawful reentry
             provision on December 22, 1928, not on January 18, 1929. See S. 5094 (1928).

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 •   Point: “During debate on the bill, Rep. Thomas L. Blanton complained that Mexicans
     ‘come into Texas by hordes’ and that ‘my friend Judge Box has been making a just fight
     against this situation for years.’ Rep. Blanton urged the House to ‘apprehend the thousands
     of these Mexicans who are in Texas now unlawfully and put them back across the Rio
     Grande and keep them there.’ Rep. Schafer added that ‘[t]hese Mexicans also come into
     Wisconsin in droves,’ and Rep. Blanton challenged others to visit the international ports of
     entry in Texas to see the “hordes that come across the bridges with no intention of ever
     going back.’ Rep. Fitzgerald then added that from a ‘moral standpoint,’ Mexicans were
     ‘poisoning the American citizen’ because they are ‘of a class’ that is ‘very undesirable.’”
     Def. Mot. 18–19 (citations omitted) (emphasis added).
         o Counterpoint: Representatives Blanton, Fitzgerald, and Schafer made these
             remarks in the context of a debate on a proposed amendment to Section 6 of the
             bill, which addressed deportation, not the unlawful reentry provision. Moreover,
             Section 6 never made it into the law as enacted by Congress.




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